                       IN THE UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF TENNESSEE
                                NASHVILLE DIVISION

JOHN C. WILSON,                              )
                                             )
                      Plaintiff,             )       Case No. 3:15-cv-1490
                                             )
vs.                                          )       Judge Crenshaw
                                             )
MAPCO EXPRESS, INC.,                         )       Magistrate Judge Brown
                                             )
                      Defendant.             )

                                            ORDER

       Before the Court is the parties’ Joint Motion for Court Approval of FLSA Settlement and

Dismissal of Case with Prejudice (Dkt. No. 29), pursuant to 29 U.S.C. § 216(b) of the Fair Labor

Standards Act. The Joint Motion asks the Court to approve, as fair and reasonable, the proposed

Settlement Agreement reached by the parties and for the dismissal of the case with prejudice.

       Having reviewed the Settlement Agreement and the pleadings and papers on file in this case,

the Court enters this Order approving the Settlement Agreement, the proposed settlement payments

to Plaintiff, and the proposed attorneys’ fees and expense reimbursements to Plaintiff’s counsel as

follows:

       1.      The Court finds that the proposed Settlement Agreement is fair and reasonable;

       2.      The Court approves the Settlement Agreement and orders that the settlement be

implemented according to its terms and conditions;

       3.      The Court approves the payment of attorneys’ fees and expense reimbursements to

Plaintiff’s counsel as provided in the Settlement Agreement, and orders that such payments be made

in the manner set forth in the Settlement Agreement; and

       4.      The Court orders that this case be dismissed with prejudice.




      Case 3:15-cv-01490 Document 31 Filed 11/29/17 Page 1 of 3 PageID #: 82
 IT IS SO ORDERED.



                                      ___________________________________
                                      WAVERLY D. CRENSHAW, JR.
                                      CHIEF UNITED STATES DISTRICT JUDGE




                                  2



Case 3:15-cv-01490 Document 31 Filed 11/29/17 Page 2 of 3 PageID #: 83
                                CERTIFICATE OF SERVICE

        I hereby certify that, on November 28, 2017, I electronically filed the foregoing document
with the Clerk of Court using the CM/ECF system, which will automatically send notification of
such filing to the following persons:

       Martin D. Holmes
       Fifth Third Center, Ste 1401
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                                                    /s/ ROGER D. SCRUGGS
                                                    ROGER D. SCRUGGS




                                                3



     Case 3:15-cv-01490 Document 31 Filed 11/29/17 Page 3 of 3 PageID #: 84
